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                      IN THE UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF COLORADO

 In re:                                           )                       Case No. 21-11011-EEB
                                                  )
 R. INVESTMENTS, RLLP,                            )                                    Chapter 11
 EIN: XX-XXXXXXX                                  )
                                                  )
          Debtor.                                 )

                                         FINAL DECREE

          The estate of the above-named debtor having been fully administered, it is

          ORDERED that the chapter 11 case of the above-named debtor is hereby closed



 Dated: April 27, 2023
                                                   United States
                                                          States Bankruptcy Judge
